4:23-cv-03041-JMG-MDN           Doc # 132      Filed: 03/27/25     Page 1 of 2 - Page ID # 1077


                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

CHRISTOPHER DEGROOT, on behalf of
himself and all others similarly situated; and                        4:23CV3041
STEVEN SHOWALTER, on behalf of
himself and all others similarly situated;
                                                                FIFTH AMENDED
                       Plaintiffs,                         CASE PROGRESSION ORDER

       vs.

NEBRASKA BOOK COMPANY, INC.,
NEBRASKA BOOK HOLDINGS, INC.,
CONCISE CAPITAL MANAGEMENT, LP,
and AB LENDING SPV I LLC, d/b/a
Mountain Ridge Capital;

                       Defendants.

       This matter comes before the Court on the Text Email Motion to Extend Case
Progression Order (Filing No. 131). After review of the motion and for good cause shown,

       IT IS ORDERED that the Text Email Motion to Extend Case Progression Order (Filing
No. 131) is granted, and the fourth amended case progression order is amended as follows:

             1)   Motion to Certify a Class Action.

                  a. Defendants shall file their response to Plaintiffs’ class certification motion
                     by April 17, 2025.

                  b. Plaintiff shall file its reply in support of motion for class certification by
                     April 24, 2025.

             2)   The trial and pretrial conference will not be set at this time. A planning
                  conference to discuss case progression, dispositive motions, the parties’ interest
                  in settlement, and the trial and pretrial conference settings remains scheduled
                  with the undersigned magistrate judge on April 4, 2025, at 9:30 a.m. by
                  telephone. Counsel shall use the conferencing instructions assigned to this case
                  to participate in the conference.

             3)   The deadline for identifying Plaintiff’s rebuttal expert witnesses and completing
                  expert disclosures for all experts expected to testify at trial, (both retained
                  experts, (Fed. R. Civ. P. 26(a)(2)(B)), and non-retained experts, (Fed. R. Civ. P.
                  26(a)(2)(C)), is May 12, 2025.

             4)   The deposition deadline, including but not limited to depositions for oral
                  testimony only under Rule 45, is May 19, 2025. The maximum number of
                  depositions that may be taken by the plaintiffs as a group and the defendants as
                  a group (10) each (including the two already taken by Plaintiffs) consistent with
                  Rule 30(a)(2)(A)(i).
4:23-cv-03041-JMG-MDN        Doc # 132      Filed: 03/27/25    Page 2 of 2 - Page ID # 1078


         5)    The deadline for completing written discovery under Rules 33, 34, 36, and 45 of
               the Federal Rules of Civil Procedure is May 19, 2025. Motions to compel
               written discovery under Rules 33, 34, 36, and 45 must be filed by June 2, 2025.

               Note: A motion to compel, to quash, or for a disputed protective order shall not
               be filed without first contacting the chambers of the undersigned magistrate
               judge on or before the motion to compel deadline to set a conference to discuss
               the parties’ dispute, and after being granted leave to do so by the Court.

         6)    The deadline for filing motions to dismiss and motions for summary judgment
               is June 16, 2025.

         7)    The deadline for filing motions to exclude testimony on Daubert and related
               grounds is 30 days prior to trial.

         8)    The parties shall comply with all other stipulations and agreements recited in
               their Rule 26(f) planning report that are not inconsistent with this order.

         9)    All requests for changes of deadlines or settings established herein shall be
               directed to the undersigned magistrate judge. Such requests will not be
               considered absent a showing of due diligence in the timely progression of this
               case and the recent development of circumstances, unanticipated prior to the
               filing of the motion, which require that additional time be allowed.


      Dated this 27th day of March, 2025.
                                                  BY THE COURT:

                                                  s/Michael D. Nelson
                                                  United States Magistrate Judge
